
PER CURIAM.
We review the order of the trial court summarily denying Dennis Hutchins’s motion for postconviction relief filed pursuant to rule 3.850 of the Florida Rules of Criminal Procedure, alleging his right to be resentenced under the 1994 sentencing guidelines.
The Supreme Court of Florida recently held that the operative window period in which to challenge the sentencing guide*490line provisions amended by Chapter 95-184, Laws of Florida, commenced on October 1, 1995, and ended on May 24, 1997. See Trapp v. State, 760 So.2d 924 (Fla.2000). As we did in Speed v. State, 764 So.2d 873 (Fla. 4th DCA 2000), we agree with Judge Altenbernd’s analysis in Smith v. State, 761 So.2d 419 (Fla. 2d DCA 2000), on the need to remand such cases for a recalculation of the defendant’s sentence under the 1994 guidelines scoresheet.
Accordingly, we reverse the order denying 3.850 relief and remand for reconsideration of whether sentencing is required pursuant to Heggs v. State, 759 So.2d 620 (Fla.2000).
WARNER, C.J., STEVENSON and SHAHOOD, JJ., concur.
